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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
IN RE: Ramona Herrera ) No.14-BK41848
} Chapter: 13
) Hearing Date: 04/24/15
DEBTORG) )
) Judge: Hon. Donald R. Cassling

NOTICE OF MOTION

TO: SENT VIA ELECTRONIC NOTICE AND US MAIL

See Creditor Matrix & Service List

On April 24, 2015, I shall at 10:00 a.m., or as soon thereafter as counsel may be heard, appear
before the Honorable Judge Donald R. Cassling at Kane County Courthouse, Court room 240, 3%

Street, Geneva, IL 60134 and then there present Notice of Motion to Strip Off Junior Lien
Chapter 13 Debtor, a copy of which is attached hereto.

Qa?

David Ratowitz, Attorney for Debtor

David Ratowitz, Esq.

Attorney for Debtor

721 W. Lake St #101

Addison, Illinois 60101

P: 312-577-9405

F: 312-577-9406

ARDC No. 6285376

Cook County Attorney No. 45219
DuPage County Attorney No. 26621

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AFFIDAVIT OF SERVICE

PLEASE TAKE NOTE THAT ON March 21, 2015, this Notice and Attorney’s Application for
Compensation for Representing Chapter 13 Debtor were X_ delivered electronically via
ECF, were ____ personally delivered, _—_ delivered via facsimile, or __X__ placed in U. S. Mail

properly addressed, with first class postage prepaid, to the party at the address set forth above.

ALL

David Ratowitz, Esq. David Ratowitz, Attorney for Debtor
Attorney for Debtor

721 W. Lake St #101

Addison, Illinois 60101

P: 312-577-9405

F: 312 577-9406

ARDC No. 6285376

Cook County Attorney No. 45219

DuPage County Attommey No. 266215

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Service List: Glen
Sterns 801
Warrenville Rd.
Lisle, IL 60532

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
Eastern Division

In Re: Ramona Herrera )
} BK No.: 14BK41848
) Chapter 13
} Hearing Date 04/24/15
)
Debtor(s) ) Judge: Hon. Donald R. Cassling
)
)
Ramona Herrera )
)
Plaintiffs, )
)
Vv. )
JP Morgan Chase Bank, N.A )
)
Defendant. )

MOTION TO AVOID JUNIOR LIEN

NOW COME(S) Plaintiff(s), Ramona Herrera, by and through their attorneys, David
Ratowitz and the Ratowitz Law Group, LLC, hereby moves this Honorable Court to strip off and
avoid the lien of creditor, JP Morgan Chase Bank, N.A, on the following described property:

Lot 30 In BLOCK 64 IN WESTLAKE UNIT NO 18, BEING A SUBDIVISION OF
PART OF THE NORTHEAST % OF SECTION 28, TOWNSHIP 40 NORTH, RANGE
10, EAST OF THE THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT
THEREOF RECORDED JULY 26, 1977 AS DOCUMENT R77-62645, IN DUPAGE

COUNTY, ILLINOIS.

Permanent Index Number: 02-28-215-011

Commonly Known As: 146 APPLEBY DRIVE, GLENDALE HEIGHTS, IL 60139
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Debtor intends to strip off creditor’s, JP Morgan Chase Bank, N.A, lien and treat said
creditor’s claim as unsecured. Debtors state that the basis for the lien stripping is lack of equity

in the encumbered property and in support of said Motion submits the following information:

1. The amount of the claim which the lien secures is $37,888.00 with a 9.9% annual
interest, which has been filed/recorded on November 8, 2006 as instrument No.
R2006-234356 of Official Records with Dupage County, Illinois.

2. The above mentioned lien is a non-purchase money lien.

3. Debtor submits the following information on the value of the property:

a. Fair Market Value : $227,611.00

b. Value listed in Schedules: $227,611.00

c. Equalized Assessed Value according to records of County Property Valuation
Admiration: $66,510.00

d. Date of Purchase: November 23, 1997

e. Appraised Value: (if recently appraised):

f. Senior mortgages of liens on the property and their amount: $321,147.86

4, The trustee has not abandoned the property.

5. The debtor does claim an exemption in said property.

6. The lien held by the creditor impairs the exemption of the debtor in the property
describe in the motion.

WHEREFORE, the debtor moves this Honorable Court to order the lien stripped off, avoided,

the claim treated as unsecured, and for such other relief as may be entitled.
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Date:

Ramona Herrera, Debtor

David Ratowitz, Esq., Attorney for Debtors
RATOWITZ LAW GROUP, LLC

721 W. Lake Street, Ste. 101

Addison, IL 60101

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